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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

AMERICA FIRST FOUNDATION,
                                               CIVIL ACTION NO.: 24-12684
      Plaintiff,
                                               HON. DENISE PAGE HOOD
v.

CLAY STREET ENTERTAINMENT, LLC,

      Defendant.
___                                        /

                                SCHEDULING ORDER

     This case, having come before the Court pursuant to Rule 16(b)(1)(A) of the
Federal Rules of Civil Procedure or Rule 16(b)(1)(B) status conference, the Court
ORDERS the following schedule controlling the progress of this case:

Initial Disclosures must be exchanged by:                  February 17, 2025

Amendments to Pleadings or Joinder of Parties
    must be filed by:                                      None anticipated

Initial Witness List must be exchanged by:                 August 18, 2025

Fact Discovery must be completed by:                       November 17, 2025

Expert Discovery must be completed by:                     None noted
    If required, the parties shall submit a joint proposed
    order regarding expert discovery schedule.

Alternative Dispute Resolution referrals may be ordered under Local Rules 16.3 to
16.7. The parties may contact the Court no later than the discovery deadline for referral
under any of the ADR procedures. The Scheduling Order continues to govern the case
during the ADR process. See Local Rule 16.3(g).

Referrals to the Magistrate Judge:

Motions (other than trial motions in limine)
     must be filed by:                                  December 22, 2025
     Motion practice is governed by Local Rule 7.1 and Appendix CM/ECF.
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                                             2
Final Pretrial Conference:
      1)    A proposed Joint Final Pretrial Order (governed by Local Rule 16.2)
            must be submitted by and trial motions in limine
            must be filed by:                                 April 6, 2026
      2)    The final pretrial conference is set for:         April 14, 2026, 2:00 pm
      3)    Your client(s) or representative with full settlement authority must be present
            at the above conference.

Trial (Jury    or Bench X ) is set for:                        May 12, 2026, 9:30 am
       No. of Days: 2-3
       1)    The parties must exchange exhibits listed in the JFPTO prior to trial.
             Exhibits and witnesses not listed in the JFPTO will not be presented at trial.
       2)    The parties must confer on proposed jury instructions prior to trial and submit
             one joint agreed to jury instructions on the first day of trial.

Other Requirements:
     1)   The Local Rules/Appendix ECF (www.mied.uscourts.gov or the Clerk’s
          Office for pro se litigants) and Federal Rules of Civil Procedures govern.
     2)   Submissions of proposed Orders are governed by Local Rules 5.2, 58.1 and
          Appendix CM/ECF.
     3)   A schedule may be modified only for good cause by leave of Court either
          through a Stipulation and Order submitted by the parties or, if no
          concurrence, by Motion. Fed. R. Civ. P. 16(b)(4); Local Rule 40.2.
     4)   Motions to seal documents used to support a motion, response, or reply or
          other matters on the record, must comply with Local Rule 5.3.

Additional Matters: The Joint Rule 26(f) report is adopted, except as noted
above.

                                    s/Denise Page Hood
                                    Denise Page Hood, United States District Judge
Dated: February 5, 2025

I hereby certify that a copy of the foregoing document was served upon counsel of
record on February 5, 2025, by electronic and/or ordinary mail.

                                    s/LaShawn R. Saulsberry
                                    Case Manager
